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                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


SFA SYSTEMS, LLC.

       Plaintiff,
                                                     Civil Action No. 6:10-CV-00300-LED
       v.
                                                       JURY TRIAL DEMANDED
BIGMACHINES, INC., et al.

       Defendants.


                          ORDER OF DISMISSAL WITH PREJUDICE

       In consideration of the Parties’ Stipulated Motion for Dismissal of Plaintiff’s claims against

Defendants BigMachines, Inc.; Enterasys Networks, Inc.; Ricoh Americas Corporation; and

Carestream Health, Inc., with prejudice and all counterclaims as moot, the Stipulated Motion for

Dismissal is GRANTED, and it is ORDERED, ADJUDGED, and DECREED that all claims asserted

in this suit by Plaintiff against Defendants are hereby dismissed with prejudice, and all counterclaims

are dismissed as moot, subject to the terms of that certain agreement (and its exhibits) dated September

15, 2011.

       It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

incurred them.

       So ORDERED and SIGNED this 28th day of September, 2011.




                              __________________________________
                              LEONARD DAVIS
                              UNITED STATES DISTRICT JUDGE
